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         In the United States Court of
                Federal Claims
                GENERAL ORDER NO. 2022-01
         Procedure for Electronic Filing in Pro Se Cases


      I. INTRODUCTION
           On March 18, 2020, in response to the COVID-19
   pandemic, the court issued a General Order suspending paper
   filing requirements in pro se cases. See General Order (Mar. 18,
   2020). Thereafter, consistent with the March 18, 2020, General
   Order, and as the pandemic continued to impact Washington,
   DC, and the National Capital Region, the court issued General
   Order No. 2, continuing the suspension of paper filing
   requirements and refining the procedures for electronic filing in
   pro se cases. See General Order No. 2 (Nov. 13, 2020; amended
   Dec. 23, 2020; reissued Mar. 3, 2021).
          Consistent with these General Orders and pursuant to
   28 U.S.C. § 2071(e), it is hereby ORDERED, effective
   immediately and until further order of the court, that the United
   States Court of Federal Claims will continue to:
          1. accept filings via e-mail from self-represented, or pro
             se, litigants who have not been granted access to file
             electronically in the court’s Electronic Case Filing
             System (“ECF System”);
          2. allow judges, special masters, the Clerk of Court, and
             opposing counsel of record to file electronically in
             non-ECF cases via the court’s ECF System; and
          3. strongly encourage pro se litigants without ECF
             privileges to consent to service of all electronic filings
             via e-mail by submitting a signed E-Notification
             Consent Form (attached).
   Pro se filings submitted by e-mail must be sent to
   ProSe_case_filings@cfc.uscourts.gov and must be submitted in
   accordance with the procedures identified below.

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          Pro se parties who have not been granted access to file
   electronically or are unable to send documents via e-mail may
   continue to submit documents in paper form by mail or other
   delivery to: Clerk, United States Court of Federal Claims, 717
   Madison Place, NW, Washington, DC 20439.


      II. PROCEDURES FOR FILING IN PRO SE CASES

      1. Definitions.
         (a) “ECF System” means the court’s online system for
             electronic case filing.
         (b) “Non-ECF case” means a case designated by the Clerk
             of Court as a pro se case in which the pro se litigant
             has not been granted access to file documents
             electronically in the ECF System.
         (c) “ECF case” means a case designated by the Clerk of
             Court as an electronic case in which all filings in the
             case are made via the ECF System.
         (d) “Filing” means any document that is filed with the
             court in paper form or electronically via the ECF
             System or via e-mail by a pro se litigant.

      2. Newly Filed Non-ECF Cases.
         (a) Notwithstanding the alternative filing procedures
             identified herein, all case-initiating documents (e.g.,
             complaints, petitions, notices of appeal) should be:
                (i) submitted in paper form in compliance with
                       Rule 5.5 of the Rules of the United States
                       Court of Federal Claims (“RCFC”);
                (ii) accompanied by the required filing fee or an
                       application to proceed in forma pauperis; and
                (iii) delivered by mail or other method to the
                       court address listed above.1

   1 In vaccine cases, the petition must include a certificate of service

   indicating that one copy of the petition and accompanying
   documents has been served on the Secretary of Health and
   Human Services pursuant to Vaccine Rule 2(e)(1). To
   electronically serve a copy of a petition on HHS, visit
   https://www.hrsa.gov/vaccine-compensation/index.html.
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         (b) The 2-copies requirement of RCFC 5.5(d)(1)(A) and
             Vaccine Rule 2(b)(1) is hereby suspended.
                  (i) Pro se litigants need only file an original case-
                       initiating document.
                  (ii) If, however, a case-initiating document,
                       including exhibits and attachments, exceeds
                       50 pages, the pro se litigant must provide a
                       courtesy copy of the document in paper form
                       that meets the requirements of RCFC 5.5(c).
         (c) All newly filed pro se cases will be designated non-
             ECF cases but may be converted to ECF cases under
             certain circumstances.
                  (i) General Jurisdiction Cases. The court may
                       grant a pro se litigant access to file
                       documents electronically via the ECF
                       System, and thereby convert a pending non-
                       ECF case to an ECF case, at any time.
                  (ii) Vaccine Cases. Because of the restricted
                       nature of vaccine cases, pro se vaccine
                       litigants cannot view filings via the ECF
                       System. Thus, it would not be appropriate for
                       the court to convert a pending vaccine non-
                       ECF case to an ECF case. Accordingly,
                       vaccine cases with pro se litigants will remain
                       non-ECF cases.
         (d) The Clerk of Court will notify counsel and pro se
             litigants that a case has been designated an ECF or
             non-ECF case by filing a “Notice of Designation.”

      3. Filing Requirements in Pending Non-ECF Cases.
         (a) ECF Filings. Judges, special masters, the Clerk of
             Court, and opposing counsel of record must file
             electronically via the ECF System in non-ECF cases.
             A pro se litigant may be served by mail or by electronic
             or other means to which the litigant has consented in
             writing.
         (b) Pro Se Filings.
                 (i) Paper Form. Pro se litigants may submit
                      case filings in paper form in compliance with
                      RCFC 5.5. The 2-copies requirement of

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                    RCFC 5.5(d)(2) and Vaccine Rule 17(d) is
                    hereby suspended.
                    (A) Pro se litigants need only file an original
                         document.
                    (B) If, however, a document, including
                         exhibits and attachments, exceeds 50
                         pages, the pro se litigant must, unless
                         otherwise ordered by the court, provide
                         a courtesy copy of the document in
                         paper form that meets the requirements
                         of RCFC 5.5(c).
               (ii) Electronic Form. Pro se litigants may
                    submit case filings via e-mail to
                    ProSe_case_filings@cfc.uscourts.gov.
                    Certain requirements apply to all documents
                    submitted by e-mail:
                    (A) Filed documents must be attached in
                         Portable Document Format (“PDF”)
                         and must conform to the format
                         requirements of RCFC 5.5. Only the
                         contents of the attached PDF will be
                         considered part of the submission and
                         processed by the Clerk of Court. Any
                         content in the body of the e-mail will
                         not be reviewed by the Clerk of Court
                         or considered for inclusion in the case
                         record.
                    (B) The e-mail subject line must include the
                         case name and docket number for
                         which the submission is intended.
                    (C) Each e-mailed submission must be
                         limited to a document that is clearly
                         identified as a filing pursuant to a court
                         rule or in response to a court order.
                    (D) E-mailed submissions may include
                         either a scanned written signature or an
                         electronic signature (“s/[name of pro se
                         litigant]”).
                    (E) Pro se litigants may not file documents
                         via e-mail on behalf of any other
                         person.
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                        (F) E-mail privileges may be revoked by the
                            assigned judge or special master at any
                            time.

       4. Filing Procedures in Non-ECF Cases.
          (a) Electronic Notification of Filings for Pro Se
              Litigants. A pro se litigant may consent to receive
              instant notification of all filings via e-mail by filing an
              E-Notification Consent Form (attached) in each active
              case before the court.
          (b) Service by E-mail on Pro Se Litigants. By filing an
              E-Notification Consent Form, the pro se litigant
              waives service and notice of filings by first class mail,
              and consents to having his or her e-mail address
              entered into the ECF System to receive notices of
              electronic filings.
                  (i) General Jurisdiction Cases. If an E-
                       Notification Consent Form is filed, the ECF
                       System’s automatic transmission of a “Notice
                       of Electronic Filing” pursuant to Appendix
                       E, ¶ 12(a), RCFC, satisfies the service
                       requirements of RCFC 5 and the proof of
                       service requirements of RCFC 5.3. By filing
                       an E-Notification Consent Form, the pro se
                       litigant also consents to viewing all filings
                       through a Public Access to Court Electronic
                       Records (“PACER”) account.2
                  (ii) Vaccine Cases. Because of the restricted
                       nature of vaccine cases, if an E-Notification
                       Consent Form is filed, opposing counsel and
                       the Clerk of Court must serve PDF copies of
                       their respective filings on the pro se litigant
                       via e-mail. The e-mail together with the ECF
                       System’s automatic transmission of the
                       “Notice of Electronic Filing” pursuant to

   2
    PACER is an electronic public access service that allows users
   to obtain case and docket information from federal courts. To
   register for an account, contact the PACER Service Center at
   www.pacer.gov or (800) 676-6856. There is no cost for
   registration, but fees for viewing documents may apply.
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                        Supplement to Appendix B, ¶ 12(a), RCFC,
                        satisfies the service requirements of RCFC 5.
         (c) Service by First Class Mail on Pro Se Litigants. If
             an E-Notification Consent Form is not filed, the Clerk
             of Court will serve the pro se litigant with court-issued
             filings by first class mail; opposing counsel must serve
             the litigant with its filings in a manner listed in RCFC
             5(b).
         (d) Service by Pro Se Litigants. Pro se litigants filing in
             paper form or via e-mail need not separately serve
             their filings on opposing counsel. Opposing counsel
             will be served when a filing is entered by the Clerk of
             Court in the ECF System.
         (e) Proof of Service.
                  (i) Pro Se Filings. Except as provided in
                        Vaccine Rule 2(e)(1), pro se litigants need not
                        file certificates of service pursuant to RCFC
                        5.3.
                  (ii) ECF Filings by Opposing Counsel.
                        (A) General Jurisdiction. If a pro se
                              litigant has not filed an E-Notification
                              Consent Form, opposing counsel must
                              attach to each filing, or file within a
                              reasonable time after service, a
                              certificate of service pursuant to RCFC
                              5(d)(1)B). If an E-Notification Consent
                              Form has been filed, a certificate of
                              service is not required.
                         (B) Vaccine Cases. Because of the
                              restricted nature of vaccine cases,
                              opposing counsel must attach to each
                              filing, or file within a reasonable time
                              after service, a certificate of service
                              pursuant to RCFC 5(d)(1)(B) and
                              Vaccine Rule 17(a)(2).
         (f) Effect of Filing. A document submitted by a pro se
             litigant via e-mail or in paper form constitutes a filing
             under RCFC 5 once it is entered by the Clerk of Court
             in the ECF System.


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          (g) Date of Filing. A document submitted by a pro se
              litigant via e-mail or in paper form is deemed filed on
              the date and time received by the Clerk of Court or, if
              not in compliance with the court’s rules, on the date
              and time filed by leave of the judge or special master.


          III. CONCLUSION
           Case-by-case exceptions to these directives may be
   ordered at the discretion of the assigned judge or special master
   after consultation with the parties.

          The Clerk of Court is directed to provide public notice of
   this General Order and to docket a copy of this General Order
   in each newly filed pro se case.
      IT IS SO ORDERED.


                                         s/Elaine D. Kaplan
                                        ELAINE D. KAPLAN
                                            Chief Judge

   September 12, 2022
   Washington, DC




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           In the United States Court of Federal Claims

                                               )
 _______________________________,              )
                                               )
                        Plaintiff,             )
                                               )       No. __________________
 v.                                            )
                                               )
 THE UNITED STATES,                            )
                                               )
                        Defendant.             )
                                               )


                               E-NOTIFICATION CONSENT FORM

       The undersigned pro se plaintiff in the above-identified case:

              Consents to receiving notice by e-mail of all electronic filings in the above-
               identified case, pursuant to Rule 5(b) of the Rules of the United States Court of
               Federal Claims, via the court’s electronic filing system.

              Waives service and notice by first class mail of all electronic filings in the above-
               identified case, including orders and judgments.

              Must be registered with PACER to view electronic filings in the above-identified
               case.

              Is responsible for immediately notifying the court in writing of any change of e-
               mail address.

        The Clerk of Court is authorized to add plaintiff’s e-mail address identified below to the court’s
electronic filing system. Plaintiff will submit all case filings via e-mail to
ProSe_case_filings@cfc.uscourts.gov, through the U.S. Mail, or by deposit in the court’s night box
located at the garage entrance on H Street NW, between 15th Street and Madison Place.


                                                     _________________________________________
                                                     (Signature of Plaintiff)

                                                     _________________________________________
                                                     (E-mail Address)

                                                     _________________________________________
                                                     (Date)
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           In the United States Court of Federal Claims
                              OFFICE OF SPECIAL MASTERS


                                               )
 _______________________________,              )
                                               )
                        Petitioner,            )
                                               )       No. __________________
 v.                                            )
                                               )
 SECRETARY OF HEALTH AND                       )
 HUMAN SERVICES,                               )
                                               )
                        Respondent.            )
                                               )


                               E-NOTIFICATION CONSENT FORM

       The undersigned pro se petitioner in the above-identified case:

              Consents to receiving notice by e-mail of all electronic filings in the above-
               identified case via the court’s electronic filing system.

              Consents to service by e-mail, pursuant to Rule 5(b) of the Rules of the United
               States Court of Federal Claims.

              Waives service and notice by first class mail of all electronic filings in the above-
               identified case, including orders and judgments.

              Is responsible for immediately notifying the court in writing of any change of e-
               mail address.

        The Clerk of Court is authorized to add petitioner’s e-mail address identified below to the court’s
electronic filing system. Petitioner will submit all case filings via e-mail to
ProSe_case_filings@cfc.uscourts.gov, through the U.S. Mail, or by deposit in the court’s night box
located at the garage entrance on H Street NW, between 15th Street and Madison Place.


                                                     _________________________________________
                                                     (Signature of Petitioner)

                                                     _________________________________________
                                                     (E-mail Address)

                                                     _________________________________________
                                                     (Date)

                                                                                      Updated April 2020
